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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

     NOACH NEWMAN, ADIN GESS, and
     NATALIE SANANDAJI,
                                                      Case No.: 1:24-cv-20684-KMM
            Plaintiffs,

            v.

     THE ASSOCIATED PRESS,

            Defendant.


                  PLAINTIFFS’ NOTICE OF FILING EXHIBITS B, C, AND D
                          TO SECOND AMENDED COMPLAINT

          Plaintiffs Noach Newman, Adin Gess, and Natalie Sanandaji (“Plaintiffs”), by and through

   undersigned counsel, file this Notice of Filing the non-confidential versions of Exhibits B, C, and

   D which were attached to Plaintiffs’ Second Amended Complaint [ECF No. 99]. On March 21,

   2025, the Court removed The Associated Press’s (“AP”) confidentiality designations from these

   documents. See Order on Motion to Remove Confidentiality Designations [ECF No. 136]. On

   March 28, 2025, AP produced the attached re-designated exhibits pursuant to the Order on Motion

   to Remove Confidentiality Designations. AP consents to the filing of the attached exhibits.
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        Dated: April 8, 2025               Respectfully submitted,

                                           MARK MIGDAL & HAYDEN
                                           80 S.W. 8th Street, Suite 1999
                                           Miami, Florida 33130
                                           Tel: (305) 374-0440

                                           By: s/ Maia Aron
                                           Etan Mark, Esq.
                                           Florida Bar No. 720852
                                           etan@markmigdal.com
                                           Maia Aron, Esq.
                                           Florida Bar No. 17188
                                           maia@markmigdal.com
                                           Annie D. Rosenthal, Esq.
                                           Florida Bar No. 1031335
                                           annie@markmigdal.com
                                           eservice@markmigdal.com

                                           - and -

                                           LAW OFFICE OF DAVID I. SCHOEN
                                           2800 Zelda Road, Suite 100-6
                                           Montgomery, AL 36106
                                           Telephone: (334) 395-6611
                                           E-Fax: (917) 591-7586

                                           /s/ David I. Schoen
                                           David I. Schoen, Esq.
                                           schoenlawfirm@gmail.com
                                           Pro Hac Vice

                                           - and –

                                           National Jewish Advocacy Center, Inc.
                                           1718 General George Patton Drive
                                           Brentwood, TN 37027
                                           Telephone: (800) 269-9895

                                           /s/ Mark Goldfeder
                                           Mark Goldfeder, Esq.
                                           mark@jewishadvocacycenter.org
                                           Pro Hac Vice

                                           - and -
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                                                      Goldfeder and Terry, LLC
                                                      666 Harless Place
                                                      West Hempstead, NY 11552
                                                      Telephone: (917) 495-5790

                                                      /s/ Bencion Schlager
                                                      Bencion Schlager, Esq.
                                                      ben@goldfederterry.com
                                                      Pro Hac Vice

                                                      - and -

                                                      Groisman Law, PLLC
                                                      21500 Biscayne Blvd., Ste 600
                                                      Aventura, FL 33180
                                                      Telephone: (305) 323-5900

                                                      s/ Gabriel Groisman
                                                      Gabriel Groisman (Fla. Bar No. 25644)
                                                      gg@groisman.llc

                                                      Attorneys for Plaintiffs



                                   CERTIFICATE OF SERVICE

          I hereby certify that I filed the foregoing document (including any attached exhibits and

   documents) electronically on the Court’s CM/ECF docket on April 8, 2025, which served same

   electronically upon all counsel of record.

                                                                s/ Maia Aron
                                                                Maia Aron, Esq.
